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                                                                Honorable James Robart

                         UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF WASHINGTON, SEATTLE

 UNITED STATES OF AMERICA,                  )       No. CR19-117 JLR
                                            )
                              Plaintiff,    )       REVISED DEFENSE MOTION
                                            )       TO DISMISS FOR DISCOVERY
           v.                               )       AND BRADY VIOLATION
                                            )
SHAWNA REID,                                )
                              Defendant.    )       Evidentiary hearing requested
                                            )       Noted: July 22 , 2021

       Defendant Shawna Reid moves for dismissal of the charges because of the

government’s flagrant breach of its discovery obligations to timely produce an audio

recording of her grand jury testimony. Unless the court dismisses based on the present

record, an evidentiary hearing is required in order to explore the circumstances

concerning the recording of this testimony and its tardy production.

       We recognize that dismissal is an extreme sanction. However, no lesser remedy

will cure the harm done to Ms. Reid, preserve the integrity of the Court and the judicial

system, or deter the government from continuing to recklessly disregard the rules and

the Constitution

                                           Facts

       Ms. Reid’s sole grand jury appearance occurred on February 28, 2018. She was

indicted for statements made during that testimony on June 20, 2019, and arraigned on
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August 20, 2019, when she requested full discovery under the local rule. Dkt. # 9.

1. Defense Requests For Recorded Statements of Ms. Reid

       On October 18, 2019, counsel for Ms. Reid sent the government a discovery letter.

Redacted version in Exhibit 1. The letter specifically asked for:

             “[a]ny written or recorded statements … made by Ms. Reid to
            any person, whether a government investigator/official or not,
            relating to the Thomas Wales matter, including any statement(s)
            Ms. Reid made regarding [suspect #1]. This request includes,
            but is not limited to, any statement the government might
            potentially use in its case-in- chief.”

Exhibit 1, paragraph 3. The defense also requested any information about how the grand

jury that indicted Ms. Reid was informed of her earlier grand jury testimony and whether

the testimony was play-acted or the transcript read into the record. Exhibit 1, paragraph

13. Federal Criminal Rule 16, specifically referenced at the beginning of the discovery

letter, requires that the government provide to the defense any recording of a defendant’s

testimony before a grand jury if it relates to the case. FRCrP16 (a)(1)(B)(iii).

       Shortly after Mr. Reid’s arraignment, the government furnished the defense with a

transcript of Ms. Reid’s grand jury testimony. The front page of the transcript provided to

the defense includes the notation ,“Proceedings recorded by mechanical stenography”.

Exhibit 2. Nowhere does the transcript indicate that the proceedings were audio

recorded.

       The government has continually represented to the defense that it has complied

with all of its discovery obligations. On January 28, 2020, in response to the defense
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discovery letter of October 18, 2019, it specifically assured the defense both that it had

provided Ms. Reid’s statements and that if it learned of any other statements to other

persons that were discoverable under Brady or Rule 16(a) it would “promptly” furnish

them to the defense. Exhibit 3. At no time until July 1, 2021, did the government even

hint that any audio recording might exist.

2. Defense Motions

       As the case progressed, the defense came to believe it was critical for the jury to

understand the full dynamics of Ms. Reid’s appearance before the grand jury, including

her interactions with the prosecutors, and her demeanor and that of the prosecutors.

Because the only evidence we possessed was the cold transcript, we moved to subpoena

two of the prosecutors present at the hearing to flesh out the record and to more fully

develop the circumstances and atmosphere of Ms. Reid’s grand jury testimony.

       The government vigorously opposed this motion and chastised the defense for not

exhausting other avenues, such as seeking to use as witnesses the grand jury foreman or

the stenographer. Gov’t Response, Dkt. # 80 at 10-12. The government also confidently

asserted that the transcript showed that all of Ms. Reid’s answers were “clear and

concise," that the transcript demonstrated no evidence of intimidation, and that “nothing

in the grand jury transcripts shows the defendant did not understand the questions or

struggled as to what they meant.” Gov’t Response to Motion at 8.

       The Court convened a hearing on January 28, 2021, to consider the motion to

subpoena the prosecutors. The defense and the Court understood that the only evidence
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of the grand jury proceeding was the written transcript and that it was in that context that

the motion had to be decided. As the court noted at one point, “Every case I have found,

says basically, that if there is a transcript the transcript is the best evidence.” T 8. At the

time the Court made this observation it was, of course, unaware that the real best

evidence — the audio recording — existed but had not been revealed by the government.

The Court ultimately granted the defense motion to subpoena the prosecutors.

        At the pretrial conference on June 14, 2021, there was extensive discussion

 about the prosecutor witnesses and how they would appear but not a word about any

 audio recording of the grand jury testimony.

 3. Defense requests government assurance that no recording existed

       As the defense trial preparations entered its final stage, we became even more

conscious of the critical relevance of the tone and tenor of Ms. Reid’s performance before

the grand jury: not only what she said in her testimony but how she said it and the

manner and tone in which the questions were asked and in her answers. A cold transcript

did not reflect the full story. To rule out even the most remote possibility (since we had

already been assured almost eighteen months earlier that all Rule 16 discovery had been

produced), we sought to confirm that no recording existed. On June 21, 2021, we asked

for this confirmation by email. When, after a week had passed without a response, we

sent a second one. On July 1 — just days before trial —the government responded that

an audio recording did exist, that it “was requesting it” and would send us a copy when

the recording was received. A copy of the tape was not actually produced until the
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afternoon of July 5.

4. The audio recording revealed

       Defense counsel have since listened to the tape. The recording brings out crucially

exculpatory evidence not apparent from the transcript. Ms. Reid presents as someone

trying her best to be helpful and honest but confused and upset by the questioning. The

tape also captures the aggressive and confrontational tone of one of the prosecutors, Mr.

Clymer. Overall, the tape supports the defense contention that Ms.Reid was trying to

testify truthfully under very trying circumstances and may well have been confused and/

or intimidated in the moment.

                                       ARGUMENT

                 Dismissal is the proper remedy for the Brady violation.

       A district court may dismiss an indictment under its inherent supervisory powers

“(1) to implement a remedy for the violation of a recognized statutory or constitutional

right; (2) to preserve judicial integrity by ensuring that a conviction rests on appropriate

considerations validly before a jury; and (3) to deter future illegal conduct.” United States

v. Struckman, 611 F.3d 560, 574 (9th Cir. 2010). A recent case approving a dismissal for a

severe discovery and Brady violation, United States v. Bundy, 968 F.3d. 1019 (9th Cir.

2020), employs a holistic review of the violations and their impact and extensively

examines the scope of a trial court’s discretion in fashioning the proper remedy. The

Court should follow Bundy’s approach and consider the following circumstances.


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 1.      The government egregiously flouted mandatory federal
         court rules and Constitutional requirements.

       The newly available audiotape of the testimony shows Ms. Reid’s hesitation and

confusion and apparent agitation or belligerence from her questioners. The government’s

failure to timely produce the tape constitutes a clear Brady violation, made worse by its

repeated insistence that Ms. Reid was never confused, hesitant or intimidated.

       First, the Federal Rules of Criminal Procedure require that the government

produce to the defense the recorded testimony of a criminal defendant who testifies

before a grand jury. FRCrP 16 (a) (iii). In this case, at arraignment and thereafter in a

discovery letter, Ms. Reid expressly invoked these rules and asked for any such

recordings.

       Second, FRCrP 6 (e) (1) mandates that all grand jury proceedings be recorded and

that, in the absence of a court order to the contrary, “an attorney for the government will

retain control of the recording” (emphasis supplied). The rule is discussed in United

States v. Cardenas-Mendoza, 579 F.3d 1024, 1031 (9th Cir. 2009), a case rejecting a

government excuse for failing to produce certain grand jury testimony. The government

claimed that the tapes of the grand jury proceeding were in the physical control of the

court reporter, who had died before a transcript was made. The Cardenas-Mendoza court

was unpersuaded:

         In this case, the court reporter had permission to retain physical
         custody of the tape. But that permission did not relieve the
         government of its obligation to retain the recording. Because Fed.
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         Rule Crim. P. 6(e)(1) charges the government with retaining copies of
         grand jury proceedings, it is in possession of the court reporter’s notes
         or audio tapes as soon as the recording occurs. (Emphasis supplied.)

       The government has been in possession of the audiotape in this case since

February 28, 2018, and cannot shift responsibility for failing to produce the tape to the

court reporter or to anyone else.

       Third, Brady v. Maryland and its progeny impose the constitutional requirement

that the government disclose exculpatory evidence within its control. The audiotape

constitutes exculpatory evidence and was within the control of the government. The tape

is obviously relevant to Ms. Reid’s state of mind and her demeanor while testifying to a

degree not apparent from the transcript of the same testimony. It tends to exculpate her

from the charge that she deliberately told a falsehood to the grand jury.

       Exculpatory evidence includes evidence that is favorable to the defense, meaning

"evidence that tends to prove the innocence of the defendant." Amado v. Gonzalez, 758 F.

3d 1119, 1134 (9th Cir. 2014); United States v. Cano, 934 F.3d 1002, 1023 (9th Cir.

2019) (observing that Brady requires the government disclose "material, exculpatory, or

otherwise helpful" evidence). "Any evidence that would tend to call the government's

case into doubt is favorable for Brady purposes." Milke v. Ryan, 711 F.3d 998, 1012 (9th

Cir. 2013). See also United States v. Bundy, 968 F.3d 1019, 1038-39 (9th Cir. 2020)

(evidence was exculpatory because it rebutted government's theory). “Exculpatory"

connotes a broader category of evidence that, "if disclosed and use effectively, may make

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the difference between conviction and acquittal." Bagley, 473 U.S. at 676.

       It is no excuse that the government prosecutors could not have known the

relevance of Brady material it withheld or somehow lacked personal knowledge. Bundy

flatly rejects this excuse:

      Someone in the government made a conscious choice to withhold [this
     evidence]. It may not have been a malicious choice, but it also was not a
     matter of simple oversight. At best, the government failed to appreciate the
     relevance of the evidence. At worst, it sought to handicap the defendant by
     withholding evidence directly relevant to mens rea. In either circumstance,
     the government fell well short of its obligations to work toward fairly and
     faithfully dispensing justice rather than simply notching another win.

 Id., 968 F.3d at 1041.

       It is beyond dispute that, as a matter of law and fact, the government has possessed

and controlled the audiotape for three and a half years, almost all of it while under a

specific obligation to produce it to the defense. In a case based on the substance of Ms.

Reid's grand jury testimony, and after a specific defense request for full discovery, even a

cursory inquiry by the prosecution team of the court reporter about a tape would have

avoided the present violation. This is not a situation where a discovery/Brady situation

first materializes near the time of trial nor one where the government is unaware of the

evidence (for example, a police report inadvertently misplaced). Instead, this violation

festered for almost two years.

       2. Prejudice to Ms. Reid is substantial and irreparable.

       The government’s failure to timely provide the defense with the most important
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evidence in the case -- the audiotape of the very testimony it has indicted as criminal —

is deeply and irreparably prejudicial to Ms. Reid.

              a. Prejudice that has already occurred

       The defense motions and the Court’s rulings presume that the only evidence

of what occurred during Ms. Reid’s grand jury is the transcript. We know this to be false.

The belatedly disclosed evidence casts into doubt the basis for the Court’s ruling on the

original defense motion to dismiss. The defense argued a very important motion, and the

Court denied it with both the defense and the Court operating on the false assumption

that the transcript was the best evidence of her testimony.

       The Court denied Ms. Reid’s motion to dismiss due to the government’s false

statement to her about the compulsion order’s requirements, largely on the ground that

Ms. Reid could not show she was confused or mistaken. Dkt. #69 at 10. The audio

recording of her testimony actually manifests the very confusion and mistake the court

found lacking in the transcript. Confusion and mistake are evident in her delivery and

presentation, as captured in the tape. The transcript is merely an aid to understanding the

recording and not a substitute for it. If the case is not dismissed on the grounds advanced

in the present motion, the Court should, in light of the new best evidence, revisit the

issues raised in the original defense motion to dismiss.


       The defense also has repeatedly sought, both by discovery letter and by motion, to

ascertain the circumstances under which the indicting grand jury considered Ms. Reid’s

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prior testimony. After an in camera review of material provided it by the government the

Court denied our motion. Dkt. #73. But, the Court conducted its review of the grand

jury testimony unaware that the indicting grand jury apparently did not hear the best

evidence — the actual recording of Ms. Reid’s live testimony — before returning its

indictment. This issue should be revisited.

       The defense has also expended much time and energy trying to obtain the

testimony of two prosecutors, all over the adamant opposition of the government. There

is now a distinct possibility that their testimony may be cumulative of the audio

recording, which reveals the truth about how they spoke to Ms. Reid and how she

responded to them.


       b. Prospective Prejudice

       To date the government’s malfeasance has done little to affect its trial preparation

or cause it any prejudice, but the long delay has exacted a pronounced personal toll on

Ms. Reid, who remains under legal peril some three and a half years after providing

compelled testimony.


       Until last week her appointed lawyers have expended their time and energies

toward defending a false statement and obstruction case by trying to re-construct a grand

jury s etting from a cold transcript and resorting to (probably antagonistic) government

prosecutors as compelled defense witnesses. That tactical approach is now obsolete and a

new one must be built from scratch.

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        3. Dismissal is the appropriate remedy to preserve the integrity of the
           judicial process and make the government follow the rules.

       Grand jury proceedings are unique because, although they are crucial to the

justice system, they occur without participation from the defense and with little or no

judicial oversight. The courts and the defense both depend on the government following

basic rules to keep the system fair, honest and accountable. In this case, but for the

fortuitous response to repeated defense emails, the discovery of the government’s failure

to comply with these rules would have gone undetected and the trial commenced with

critical exculpatory evidence stashed in a court reporter’s computer.

       To date, the only impact of the audiotape revelation has been to again delay the

trial. This is hardly a sanction on the government. To the contrary, it is Ms. Reid, still

bound by strict pretrial supervision conditions and living with ongoing anxiety about her

fate, who suffers from more delay.

       Merely chastising the government, which has already been reprimanded for its

past misconduct before the grand jury, is not sufficient. These violations were not

ambiguous or only apparent in hindsight. They are, rather, clear breaches of basic, well-

established rules and essential constitutional rights. The discovery of the violations only

after repeated prodding by the defense is an aggravating factor.

       A dismissal would not impose a cost to public safety. As the Court knows, Ms.

Reid was questioned by the FBI four years ago about her knowledge of Suspect #1’s

possible involvement in a long-ago murder. Since then, Suspect #1 has not been arrested

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or charged, and Ms. Reid is still adamant that she has no information to aid the

government’s investigation. Even if she proceeds to trial and is somehow convicted, the

government’s murder investigation will not be advanced.

       Dismissal of this case will have the salutary effect of stating to both the

government and the public that the courts take the rules and the Constitution seriously.

Not dismissing the case will send the opposite message.

                                         Conclusion

        The government’s discovery and Brady violation in failing to timely provide a

recording of Ms.Reid’s grand jury statements -- the very matter for which she was

indicted — was flagrant and extreme. Even if the government did not intentionally

hide this evidence, it was at least reckless and contemptuous of the rules.

        To remedy this violation, preserve the integrity of the court, and deter future

misconduct by the government, a dismissal of the charges is the proper course of action.

        Respectfully submitted this 15th day of July, 2021.


                                  /s/ Michael Nance, WSBA #13933
                                  /s/ Robert Gombiner, WSBA #16059
                                  Attorneys for Shawna Reid




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                                Certificate of Service


       I hereby certify that on the 15th day of July, 2021, I electronically filed the

foregoing with the clerk of the court using the CM/ECF system. Notice of this

filing will be sent electronically to counsel of record for other parties.



                                       /s/ Michael Nance
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